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                                                                                            EXHIBIT 44




 2

 3                 IN THE CIRCUIT COURT OF THE STATE OF OREGON

 4                                FOR THE COUNTY OF JACKSON
 5                                     Family Law Department

 6   In the Matter of:                             )
                                                   )   Case No.: 22DR17285
 7                                                 )   Related Case No.: 23DR08269
     HEIDI MARIE BROWN,
                                                   )
 8                                                 )
                    Petitioner,                    )   DECLARATION OF CLEMENCE
 9                                                 )   BRASSENS
             and                                   )
10                                                 )
     ARNAUD PARIS,                                 )
11                                                 )
                                                   )
12                  Respondent.                    )
13           I, Clemence Brassens, am over the age of 21 years and competent to testify in this

14   matter. I make this declaration based on my personal knowledge and belief.

15      1.      I am an attorney based out of Paris, France. I have been practicing family law for

16              approximately 12 years.

17      2.      Beginning on or about March 27, 2023, I have acted as legal counsel for the

18              Petitioner in this case, Heidi Brown. My work for the Petitioner has been done

19              primarily in regards to the French case number RG 22/38495 7922101261-AD. I

20              will refer to this case as the "French case" throughout this declaration.

21      3.      As part of my representation of the Petitioner, I have reviewed documents,

22              performed legal analyses by applying facts as I understood them to relevant laws,

23              and have appeared on Petitioner's behalf in at least one court hearing.

24      4.      On March 31, 2023, I appeared in a court hearing on Petitioner's behalf. I believed

25              that the March 31, 2023 hearing would likely only concern the French court's

      Page 1- DECLARATION OF CLEMENCEBRASSENS                                  Buckley Law, PC
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 1           jurisdiction. Most frequently, French judges will determine jurisdiction first, and

 2           then order postponement and determine custody at a later hearing. My belief was

 3           based on my legal knowledge and experience, as well as the document attached as

 4           Exhibit 1. This document, referred to as a Conclusions D'Incompetence, is

 5            focused primarily on jurisdiction.

 6     5.    Based on my legal knowledge, experience, and the attached Exhibit 1, I informed

 7           Petitioner that the hearing would likely only concern jurisdiction of the French

 8           court and that, accordingly, I would not develop or make any arguments regarding

 9           jurisdiction as custody arguments and potential decisions would happen at a later

10           hearing. Petitioner and I agreed that she did not need to appear at the March 31

11           hearing because it was to be solely :regarding jurisdiction.

12     6.    At the March 31, 2023 hearing, I was surprised that the judge decided to examine

13           both jurisdiction and custody. My focus has been centered on jurisdictional

14           arguments, as that was my understanding of the purpose of the hearing. I believed

15           it was likely that the judge would agree to postpone the hearing and make a decision

16           on custody at a later date not only because that is common, but also because I had

17           only been on the case for five days at the time of the hearing, and that is typically

18           sufficient reason to postpone a hearing.

19     7.    At the conclusion of the hearing, the French court made a ruling on custody of the

20           children. This ruling was problematic and surprising for at least two reasons. First,

21           as has already been mentioned, I did not believe that custody would be argued or

22           determined at the March 31 hearing. Second, the French court's custody ruling was

23           made in Respondent's favor because my client, the Petitioner, did not appear. It is

24           my understanding that this was the equivalent of a default ruling in the American

25           legal system.

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        8.     In making its custody decision, the French court applied the standard found in

 2             Article 7 of Council Regulation (EU) 2019 /1111 of June 25, 2019. This standard is

 3             commonly known as "Brussels II ter," or Brussels IL The Brussels II standard looks

 4             at more than how ling a child has lived in a location, but instead seeks to determine

 5             a child's habitual residence, which is considered to be where the center of a child's

 6             life is located. Under this standard, French courts look to factors including, but not

 7             limited to, the conditions and reasons for a child's stay in a location, whether the

 8             child has been enrolled in school and activities, whether there are other family

 9             members in the locations, and whether a child's parents have an intention to change

10             the child's residence. The Brussels II standard looks at far more than how long a

11             child has lived in a location. In fact, based on my legal knowledge and experience,

12             the Brussels II standard is only rarely influenced by how long a child has lived in a

13             location when a child has clear, subjective factors showing that a child's life is

14             centered in a certain location.

15      9.     I understand there is a court hearing scheduled for June 21, 2023 in the parties'

16             Oregon custody case. The hearing is scheduled for 10:30 p.m. Central European

17             Time, and because the hearing is so late, I am unavailable to appear by telephone

18             or by videoconference.

19
     I hereby declare that the above statement is true to the best of my knowledge and
20
     belief, and that I understand it is made for use as evidence in court and is subject to
     penalty for perjury.
21
     Dated: June 21, 2023
22

23

24
                                                 Clemence Brassens
25


     Page 3 - DECLARATION OF CLEMENCE BRASSENS                                Buckley Law, PC
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 1                                 CERTIFICATE OF SERVICE
 2          I certify that I serve~ on June 21, 2023, a complete and exact copy (true copy) of the
     DECLARATION OF CLEMENCE BRASSENS on the parties or their representative(s) by
 3   e-mail and OJD File & Serve as follows:
 4
           Thomas A. Bittner
 5         Schulte, Anderson, et al.
           811 SW Naito Pkwy, Ste. 500
 6         Portland, OR 97204-3379
           Email: tbittner@schulte-law.com
 7         Attorn'!)I for Respondent

 8
     Dated: June 21, 2023
 9

10                                                                                         111307

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                             A Madame ou Monsieur le Juge aux Affaires Familiales
                                            Pres le Tribunal Judiciaire de PARIS

N° RG : 22/38495
Cabinet 205
Audience du vendredi 31 mars 2023 a 9H30




                            CONCLUSIONS
                           D'INCOMPETENCE



POUR:                    Madame Heidi, Marie BROWN
                         Nee le 30 mars 1982 a Ashland (Etat de !'Oregon - Etats-Unis
                         d'Amerique)
                         De nationalite americaine
                         Demeurant 665 Leonard Street - Ashland (Etat de l'Oregon) -
                         Etats-Unis d'Amerique
                         Exerr;ant la profession de cadre marketing



Avant pour avocat :     Maitre Clemence BRASSENS
                        Avocat au Barreau de Paris
                        3 rue de Saint Simon 75007 PARIS
                        Tel. +33 (0) 1 85.09.98.83
                        Courriel: clemencebrassens@avocatline.fr
                        Palais G 276


CONTRE:                 Monsieur Arnaud PARIS
                        Ne le 14 avril 1978, a Longjumeau,
                        De nationalite franc;;aise et americaine,
                        Se domiciliant 13 rue Ferdinand Duval a Paris (75004)
                        Mais residant actuellement sur le territoire americain
                        Profession: inconnue

Ayantpouravocat:        Maitre Terence RICHOUX
                        Avocat au Barreau de Paris
                        23 rue Henri Barbusse 75005 PARIS
                        Palais E 780




                                        1


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 PLAISE A. MADAME LE JUGE AUX AFFAIRES FAMILIALES


  I.          RAPPEL DES FAITS ET DE LA PROCEDURE :

                1) Rappel des faits:

       1.1.     Sur la situation familiale :

Madame Heidi BROWN, de nationalite americaine (nee                  a
                                                              Ashland), et Monsieur Arnaud
PARIS, de nationalite franr;aise et americaine, se sent rencontres en 2013.

Le couple a vecu aux Etats-Unis, d'abord en California (Topanga) avant de demenager                      a
Ashland, Oregon, en novembre 2014, alors que Madame BROWN etait enceinte de jumelles.

Ainsi, deux enfants sont issues de leur union :

    -     Juliette, Manon PARIS, de nationalite americaine et fram;aise, nee le 15 janvier 2015
          aAshland, Oregon, USA - actuellement agee de 8 ans,
    -     Eva, Lllie PARIS, de nationalite(s) americaine et fran9aise, nee le 15 janvier 2015            a
          Ashland, Oregon, USA - actuellement agee de 8 ans.

En mars 2015, la famille s'est installee en Californie a Topanga (Etats-Unis), oil Madame
BROWN et Monsieur PARIS ont vecu avec leurs deux filles pendant plusieurs annees,
ponctuees de sejour en France, jusqu'en ao0t 2019.

En ao0t 2019, la famille avait un projet de construction de maison dans !'OREGON. Ce projet
devant prendre necessairement du temps, la famille a saisi cette opportunite pour s'installer
une annee scolaire en France et que les filles effectuent leur premiere annee de maternelle.

  Piece 11°1 : Mail juin 2019 projet construction maison aAshland et annonce sejour temporaire en France
      Piece 11°2: Mail des parents adresse au centre de loisirs de Topanga confo:mant la decision de passer
                                                                      l'annee scolaire 2019 /2020 en France

                                           a
C'est ainsi que la famille a demenage Paris, dans un bien en 'location meublee, et non dans
                                                         a
l'appartement de Monsieur PARIS contrairement ce qu'il pretend dans ses ecritures, dans
l'optique d'y rester temporairement. (Piece n°41 projet contrat de bail 1er octobre 2019 + mails avec
l'agence de location+ piece n°5conge donne pow: le meme appartement )

La famille a d'ailleurs laisse taus ses meubles aux Etats-Unis et a fait expres de prendre une
location meublee.

Chacun des parents a d'ailleurs continue de declarer ses revenus aux Etats-Unis (Piece 0 °16 ct
17 Federal tax rctum 2021 Heidi BRO\VN ct :\ma11d PARIS) et a commence                 a
                                                                              percevoir des
prestations d'assurance chomage aux Etats-Unis. (Pie-cc n°24)

En mars 2020, au regard de la pandemie de Covid-19 et de ('incertitude nee de celle-ci quant
aux deplacements a l'international, la famille n'a eu d'autre choix que de rester en France et
le projet de construction de la maison aux Etats-Unis a ete impacte.

Dans l'attente de pouvoir repartir sereinement post-Covid, le couple a cependant continuer
d'avancer dans le projet de construction de maison.


                                                    2


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Ainsi, en decembre 2020, alors que la famille se trouvait en France, Madame BROWN a acquis
                    a
un terrain vacant Ashland, en Oregon, en vue d'y faire construire le futur logement familial.
(Piece n°20 : acte d'acq111'.ri1ion terrain).

A l'ete 2021, la famille est revenue a Ashland pour faire avancer ce projet.


       l)iccc n"3 : Mail de Monsieur PARIS en juillet 2021 au sujet du projet de construction de maison a
       Ashland, obligation de rester en France acause de la pandemic et souhait de reprendre le projet de
                                                                                   construction aux USA
                                                    Piece n°4: Mail aout 2021 sur projet 1naison Ashland

Ce projet n'a finalement pas abouti au regard de difficultes organisationnelles et financieres
et Monsieur PARIS a initie de nouvelles recherches de maison a acheter, notamment d'une
residence secondaire sur la cote.

                Piece n°19: Communication avec un agent immobilier pour achat d'une maison Aout 2021


Une fois la situation sanitaire mondiale apaisee, Madame BROWN et Monsieur PARIS ant
finalise leurs projets de retour a Ashland, Oregon, Etats-Unis com me ii sera justifie ci-apres.


   1.2.      Sur le demenagement licite aux Etats-Unis des enfants, conformement au
             projet parental etabli depuis le printemps 2022 :

Le couple a alors organise - ensemble - le depart de leur famille de France vers les
Etats-Unis, a effet au mois de juillet 2022 afin que leurs enfants puissent y entamer
sereinement l'annee scolaire ulterieure.

Ainsi, des mars 2022, de multiples actions ont           ete
                                               entreprises par les deux parents pour
preparer leur demenagement et Monsieur PARIS et Madame BROWN ont:

   ➔      Resilie le bail de leur appartement parisien ; (Piece n°5)

   ➔   Vendu leurs meubles et une partie de leurs biens ; (Piece n°6)

   ➔   Trouve une maison de location de quatre chambres a Ashland (dont une pour la jeune
       fille au pair fran9aise) ; (Piece n°7)

   ➔      lnscrit leurs filles a des camps d'ete a Ashland ; (Piece n°8)

   ➔      Recherche, et embauche, une jeune fille francaise au pair pour s'occuper des enfants
       a Ashland ; (Piece n°9: premiei:es recherches par le pere en avril/mai 2022; Piece n°10 contrat
       de recherche de jeunes filles au pair avec une agence mai 2022 + Piece n°11 mails avec l'ageoce en
       jui.n sur la jeune fille choisie; piece n°12: accord de paiement jeune fille au pair septembre 2022) ;

   ➔   Oiscute avec leurs employeurs respectifs et veille a obtenir des emplois aux Etats-
       Unis;

   ➔   Recherche des ecoles a Ashland ;

   ➔      lnforme l'ecole fran9aise de leurs filles de leur demenagement aux Etats-Unis; (Pieces
       n°13, 14,15 radiation)


                                                    3



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    ➔   Informer leurs parents et amis, et organise des reunions de depart avec leurs proches
        et ceux de leurs filles. (Piece n°18 temoignage de Monsieur Benamou)


Monsieur PARIS et Madame BROWN ont ainsi organise ensemble l'arrivee de leur
famille a Ashland pour la rentree scolaire 2022.

Parallelement, courant avril 2022, des difficultes relationnelles ant impacte le couple, apres la
decouverte par Madame BROWN de rapports extra-conjugaux entretenus par Monsieur
BROWN avec d'autres jeunes femmes.

Le couple a souhaite se laisser une chance, et- dans le cadre du retour prevu aux Etats-Unis
- des billets aller simple de la France vers les Etats-Unis ont ete achetes, visant une date (13
juillet 2022) qui fonctionnerait pour la scolarite des enfants et leurs activites.

Les billets ant ete achetes le 21 avril 2022 soit pres de 3 mois avant le depart (Piece n°2l) et
Madame BROWN a immediatement envoye la confirmation de reservation Monsieur PARIS. a
£Piece n"'22)
                                                                                        a
Le pere de Monsieur PARIS etait m~me missionne pour aider la famille au depart l'aeroport
puisque Madame BROWN partait seule avec les deux filles et pas mains de 12 valises, avant
que Monsieur PARIS ne les rejoigne fin juillet... (Piece n°23 cch~ngc wha1s11pp cntrr; M:idnme
BllO\VN et le pcrc de l\fonsicur P1\RIS)

                                       a
Les filles etaient egalement inscrites un camp d'ete aux Etats-Unis devant commencer le 18
juillet 2022 soit 5 jours apres leur arrivee. (Piece n°8)

Cependant et centre toute attente, quelques jours avant le depart, Monsieur PARIS
decidait unilateralement la veille du depart d'empecher ce projet en cachant les
passeports des enfants et en sollicitant une interdiction de sortie du territoire fran~ais.
(Piece adverse 11°006)

Monsieur PARIS arguait soudainement de sa condition de sante pour annuler ce retour aux
Etats-Unis. II avait effectivement decouvert quelques semaines plus tot ~tre atteint d'une
maladie, dite de BIEMER, lui imposant de prendre des vitamines 812 1 et de consulter un
medecin occasionnellement. ..

II ne s'agissait done certainement pas d'une raison valable pour annuler le retour de la famille
aux Etats-Unis prevu depuis des mois.

Malgre les tentatives de raisonnement de sa compagne, Madame BROWN et les enfants n'ont
eu d'autre choix - sans passeport et sans appartement - que de lager dans un h0tel avec
leurs valises.

La situation a ete particulierement eprouvante pour Madame BROWN et les filles.

Finalement et dans l'urgence, Madame BROWN et Monsieur PARIS sont parvenus a
s'accorder sur le depart aux Etats-Unis pour l'annee scolaire 2022-2023, tout en
conditionnant cet accord a la mise en place de formalites principalement liees aux soins
medicaux de Monsieur PARIS, et ce, avant le 22 aoOt 2022.



1 La maladie empechant !'absorption de la vitamine 812 et entraTnant une anemie.


                                                 4



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Ces accords ant ete formalises par le biais de courriers officials entre leurs conseils respectifs.

                                     IWc!! n°25. : Lettre ojfide/le du .rm,eil de Mme BROWN du 19j11illet 2022
                                          Pitft ,;''J.6: Lettre ojfitiellc d11 conseil de M. PARIS d1119 j11illet 2022


Les conditions fixees par les parties ont ete integralement realisees              a savoir:
   -                        a
       Signature d'un bail Ashland {Pic,u 11°,l)
   -                                     a
       Reservation d'une baby-sitter partir du 1er septembre 2022 en complement de la
       jeune fille au pair {Piece (l 0 J2J
   -                                                                   a
       Reservation de cours de franr;ais 2 fois par semaine compter du 1er septembre 2022
       OJike 11°JJ)
   -   Signature d'un contrat de co-working pour la mere O)iea: 11°3-I/
   -   Souscription d'une couverture medicale americaine pour Monsieur PARIS (Pm-e 11°3S)
   -   Confirmation que la couverture medicale n'excluait pas la maladie de Biermer ou un
       cancer (Pi1,1a: 11°36)
       Prise d'un rendez-vous medical avec la compagnie d'assurance americaine pour
        Monsieur PARIS {J!j}.fLJf3..Z)
   -   Prise d'un rendez-vous avec un gastroenterologue aux US pour Monsieur PARIS (Piece
       n°38/
   -   Souscription d'une nouvelle couverture medicale, Monsieur PARIS ayant annule la
       precedente awe,• 11°,!J)

C'est dans ces conditions gue, conformement a !'accord des parties depuis toujours,
Madame BROWN, Eva et Juliette sont arrivees a Ashland le 29 juillet 2022 1 et y resident
depuis.

Madame BROWN a tout mis en rauvre par la suite pour que les conditions de l'accord trouve
                                     a
par les parties soient remplies; ce quoi Monsieur PARIS a egalement participe.

                                       Piece 1J 0 27: Lettn o_Ulcielle du co1Jseil de Mme BROWN d11 18 aout 2022
                                Piece 11°12: Monsieur PARIS coordonne le paiement de la fllk au pair aAshland

De nouvelles lettres officielles ont ete echangees dans lesquelles Monsieur PARIS, par
l'intermediaire de son Conseil remettait de nouveau en cause le retour de la famille aux Etats-
Unis sous des motifs parfaitement inoperants et ce alors meme qu'il se trouvait lui-meme aux
Etats-Unis depuis le 19 ao0t !

                                          Piece n°28: Lettre ~ffecidh dN comei/ de M. PARIS dN 23 aout 2022

Par la voie de son Conseil, Madame BROWN faisait savoir qu'elle n'entendait pas rentrer en
France alors qu'un accord avait ete pris de longue date pour un retour aux Etats-Unis et
alors m~me que cela faisait deja un mois qu'elle et les filles etaient installees aux Etats-Unis.

                                           Piece n°29: Lettre ojficielle du conseil de M. PARIS du 26 aoiJt 2022


Sans plus attendre, Monsieur PARIS se ravisait et indiquait etablir sa residence aux Etats-
Unis. II y reside depuis lors.

                                           Pihe 11°30: Lettre ojjicie/Je du ronseil de M. PARIS d11 29 aoiit 2022




                                                   5



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Par la suite, Monsieur PARIS a confirme sa volonte de reloger la famille aux Etats-Unis
de plusieurs fa!,ons, notamment en emmenageant dans la nouvelle maison a Ashland, en
signant le contrat de la jeune fille au pair, ou encore en demissiannant de son paste fran9ais.


Juliette et Eva ant ainsi debute leur rentree scolaire aux Etats-Unis conformement au souhait
de leurs deux parents, Monsieur PARIS les ayant accompagnees a l'ecale aplusieurs reprises,
et etant reste dans la maison d'Ashland jusqu'a debut d'octobre.

Par la suite, les parents ant mis en place une organisation permeltant a chacun de malntenir
leur place respective dans la vie des enfants aux Etats-Unis.


   1.3.    Sur /es tentatives de Monsieur PARIS de forcer la famille a quitter /es Etats-
           Unis pour repondre a ses desideratas personnels :

Le 3 septembre 2022, Monsieur PARIS a accede illegalement a l'ordinateur de Madame
BROWN, et notamment intercepts des communications confidentielles echangees entre les
conseils fran9ais et americain de Madame BROWN.

C'est apres avoir agi ainsi, et pris connaissance frauduleusement d'echanges pourtant
couverts par le secret professionnel, que Monsieur PARIS a decide - en depit de l'interet
superieur de ses enfants - de les meler au conflit parental en mena!,ant Madame
BROWN d'enlever les enfants.

Pourtant, la securite emotionnelle des enfants devrait primer, et Eva et Juliette devraient etre
preservees des choix personnels de leur parents et evoluer dans un environnement defini.

Nonobstant l'interet superieur des enfants 1 Monsieur PARIS n'hesite pas amultiplier les
procedures dans une logique d'obstruction a l'encontre de la concluante, sans tenir
compte de !'importance de preserver les enfants et leur stabilite.


   2) Les procedures en cours:

Pour la parfaite information du Juge aux Affaires Familiales, les differentes procedures
concernant Monsieur PARIS et Madame BROWN doivent etre rappelees:

   2.1.    Sur le plan penal :

Monsieur PARIS est penalement poursuivi aux Etats-Unis a la suite de !'intrusion illegale dans
l'ordinateur de Madame BROWN, et ce pour plusieurs chefs :
    - un chef de crime informatique ;
        et deux chefs d'interception de communications.
Une audience se tiendra le 10 avril prochain.


   2.2.    Sur le fondement de la Convention de la Haye de 1980 - rejet de la demande
           de Monsieur PARIS de retour des enfants en France :

Monsieur PARIS a tente de contester a posteriori le consentement qu'il a pourtant donne, et
pour lequel ii a meme activement participe, quant au demenagement familial aux Etats-Unis.




                                               6



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II n'a pas craint de saisir la Gour federale de l'Etat de !'Oregon (United States District Court for
the district of Oregon} d'une demande sur le fondement de la Convention de la Haye du 25
octobre 1980 sur !es aspects civils de l'enlevement international d'enfants.

A ce titre, Monsieur PARIS a sollicite que soit ordonne le retour immediat de ses enfants,
pretendant que Juliette et Eva aurait eta deplacees illicitement aux Etats-Unis.

Fort logiquement, par jugement du 7 decembre 2022, la Cour federale de l'Etat de
!'Oregon a rejete la demande de retour des enfants au titre de la Convention de la Haye
de 1980.
                                                           Piece 40 : Decision du 7 decemb111 2022

Aux termes de sa decision, le juge federal MC SHANE a juge que les enfants devaient rester
a Ashland, Oregon, pour l'annee scolaire 2022-2023 ce qui fait que leur residence habituelle
est incontestablement fixee aux Etats-Unis.

II a en outre notamment retenu que les informations donnees par Monsieur PARIS paraissaient
« peu credibles » (page 36), que le projet d'installation en France paraissait temporaire et que
la pandemie a certainement joue un r0le (page 45), que Monsieur PARIS qui etait decide a
rentrer aux Etats-Unis a« change radicalement de position», que ses explications ace sujet
« sonnent un peu creux » et qu'en tout cas ii a mis Madame BROWN dans une « position
remarquablement difficile» (page 47, 48,49), qu'il est tres difficile de comprendre ce que veut
Monsieur PARIS et que les explications sur sa condition medicale ne paraissent pas credibles
faute de preuve (page 51 ). Enfin, ii rappelle que Monsieur PARIS a cree une situation intenable
au mois de juillet 2022 (page 52).

Monsieur PARIS a interjete appel de cette decision puis s'est desiste.


   2.3.      En mat/ere de responsabilite parentale, au fond :


   •      3 octobre 2022 : saisine par Monsieur PARIS des iuridictions francaises:

Le 3 octobre 2022, Monsieur PARIS a saisi le juge frarn~ais, au moyen d'une presentation
tronquee et mensongere de la realite de la situation de sa famille, omettant d'indiquer qu'il y
avait toujours eu un projet serieux et effectif du retour de la famille aux Etats-Unis pour l'annee
scolaire 2022/2023.

II a egalement indique qu'il residait en France ce qui est faux et que la famille residait a son
propre domicile rue Ferdinand Duval ce qui est encore completement faux.

Monsieur PARIS reside en effet depuis l'ete 2022 aux Etats-Unis.

       Piece n°30: Lettre '!/]iddlc du conseil de M. PARIS du 29 aout 2022 et Piece 11°44: d[Ucrmtes arln:sm
       communiquees aMadame BROWN oil ii reroit /es filles rme semaine sur de11x

Par ces manreuvres, ii a obtenu suivant ordonnance du 7 octobre 2022, une autorisation
d'assigner Madame BROWN a bref delai a !'audience du 20 janvier 2023, renvoyee au 31
mars 2023, objet des presentes.

La signification a Madame BROWN est intervenue le 10 octobre 2022.

Aux termes de ces demandes, ii sollicite que la residence habituelle des enfants soit fixee en
France a son domicile.

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   •     7 octobre 2022 : saisine par Madame BROWN des iuridictions americaines (Comte de
         Jackson, Oregon) :
                                                         Piece n°42 .- requete de Madame BROWN

Parallelement, et bien que Madame BROWN n'est pas ete informee de la saisine des
juridictions fran9aises par le pare, elle a elle-meme saisi les juridictions americaines (circuit de
l'Etat de l'Oregon pour le Comte de Jackson) aux fins d'interdire            a celui-ci de changer
unilateralement le lieu de residence habituelle des enfants.

Precisons que la saisine de Madame BROWN n'a done aucun lien avec la saisine fran9aise
de Monsieur PARIS dent elle n'a ete informee que posterieurement.

La saisine de Madame BROWN n'avait pour objet que de perenniser l'accord des parties pour
transferer la famille aux Etats-Unis en maintenant la residence habituelle des enfants en
OREGON pour l'annee 2022/2023.

Le 11 octobre 2022, une ordonnance temporaire a ete rendue, fixant un statu quo avant
jugement, et interdisant aux parties de changer le lieu de residence habituel des enfants
fixe, aux termes de la decision, sis 665 Leonard St., Ashland, Oregon.
                                                                       Piece 11°43 .- Decision de Statu quo

Precisons que Monsieur PARIS tente de faire echec a cette procedure en invoquant qu'il avait
saisi en premier les juridictions franc;aises. II a introduit appelle une « motion to dismiss J> que
l'on peut traduire comme une requete en irrecevabilite.

Le Tribunal a renvoye l'affaire au 19 avril prochain.

Le calendrier de la procedure de la juridiction du Comte de Jackson au fond n'est pas encore
connu.




C'est dans ce contexte que l'affaire se presente devant les juridictions fran~aises, qui
sont done saisies d'une demande de fixation des modalites de l'autorite parentale alors
que, ainsi que cela sera developpe :


   -     Elles sont incompetentes en l'etat de la residence habituelle des enfants aux
         Etats-Unis depuis le mois de juillet 2022 soit ii ya plus de 8 mois ;


   -     Les juridictions americaines ont deja fixe des mesures relatives a l'exercice de
         l'autorite parentale, qui sont executoires ;

   -     Le juge americain a manifestement ete saisi en premier ;

   II-      Sur !'exception d'incompetence

Conformement aux articles 74 et suivants du code de procedure civile, les exceptions
doivent etre presentees avant toute defense au fond.


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   1) Sur l'incompetence du iuge aux affaires familiales de PARIS

Monsieur PARIS a saisi le juge aux Affaires familiales de Paris le 3 octobre 2022.

On rappellera !es elements d'extraneite :

   •   La mere est americaine
   •   Le pere est fran9ais et americain
   •   Les enfants sent fran9ais et americains
   •   La residence habituelle des enfants se situe de maniere indiscutable aux
       Etats-Unis

   a} Sur la residence habituelle des enfants au 7 octobre 2022

Au 3 octobre 2022, ainsi qu'il a ete rappele ci-dessus, la residence habituelle des
enfants est incontestablement aux Etats-Unis et ce depuis le 29 juillet. Les enfants y
sont notamment scolarises.

La decision sur le retour des enfants dans le cadre de la Convention de la Haye du 25
octobre 1980 a notamment etabli que la residence habituelle des enfants se trouvait
aux Etats-Unis depuis cette date.

   b) Surles textes applicables pour apprecier la competence du juge francais

En presence d'elements d'extraneite et pour apprecier si une juridiction est
competente, ii convient tout d'abord de se referer au Reglement Bruxelles II TER entre
en vigueur le 1er aout 2022.

Ce reglement a cependant vocation a s'appliquer entre Etats membres de l'Union
Europeenne.

Or la residence habituelle des enfants est fixee aux Etats-Unis depuis le 29 juillet 2022
date a laquelle les enfants sent arrivees sur le territoire americain.

De ce fait, le Reglement Bruxelles II TER n'est pas applicable et ii convient de se
referer a la Convention de la Haye du 19 octobre 1996 relative a la competence et a
la loi applicable en matiere d'autorite parentale.

La Convention de la Haye de 1996 s'applique a la France qui l'a ratifiee en 2010.

Article 5.1.« Les autorites, tant judiciaires qu'administratives, de l'Etat contractant de
la residence habituel/e de l'enfant sont competentes pour prendre des mesures
tendant a la protection de sa personne ou de ses biens ».

Article 5.2 « Sous reserves de /'arlicle 7, en cas de changement de la residence
habituelle de /'enfant dans un autre Etat contractant, sont competentes les autorites
de l'Etat de la nouvelle residence habituelle ».



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L'article 7 evoque le deplacement ou le non retour illicite de l'enfant, or suivant decision
du 7 decembre 2022, le juge americain a considere qu'il n'y avait pas de deplacement
illicite et a refuse le retour des enfants en France. Rappelons egalement que Monsieur
PARIS s'est desiste de son appel.

En l'espece, la residence habituelle des enfants est done fixee aux Etats-Unis au
moment de la saisine de la juridiction francaise.

En vertu de !'article 5 de cette convention, le juge francais ne peut se declarer
competent.

   ►      En consequence, le juge aux affaires familiales de PARIS ne pourra que
          se declarer incompetent.


   2) Sur la competence des juridictions americaines

Conformement a !'article 5 de la Convention de la Haye du 19 octobre 1996, ci-dessus
reproduit, seules les juridictions americaines sont competentes.

Le juge aux affaires familiales de PARIS devra done se dessaisir au profit du juge
americain deja saisi de cette affaire, a savoir le Tribunal de Circuit de !'Oregon.

                                           * *
                                            *

A defaut, si le juge aux affaires familiales de PARIS se declarait par extraordinaire
competent, ii existerait alors une situation de litispendance qu'il convient d'examiner.


   111-     Sur !'exception de litispendance

Conformement a !'article 100 du code de procedure civile, !'exception de litispendance
est presentee in limine litis avant toute defense au fond :

Si le meme litige est pendant devant deux juridictions de meme degre egalement
competentes pour en connaitre, la juridiction saisie en second lieu doit se dessaisir au
profit de l'autre si /'une des parties le demande. A defaut, elle peut le faire d'office.

Pour apprecier la situation de litispendance on rappellera les dispositions applicables
du Reglement Bruxelles II Ter:

Articles 16 b) du Reglement Bruxelles II Bis et 17 b) du Reglement Bruxelles II Ter:

Une juridiction est reputee saisie :

   a) A la date a Jaque/le l'acte introductif d'instance ou un acte equivalent est
      depose aupres de la juridiction, a condition que le demandeur n'ait pas
      neg/ige par la suite de prendre Jes mesures qu'il etait tenu de prendre pour
      que /'acte soit notifie ou signifie au defendeur;

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   b) Si l 1acte doit etre notifie ou signifie avant d 1etre depose aupres de la
      juridiction(nota: ce qui est le cas d'une assig11ation abref rli/ai), a la date a laglielle ii est
       recu par l'autorite chargee de la notification ou de la signification, a
       condition que le demandeur n'ait pas neglige par la suite de prendre /es
       mesures qu'il etait tenu de prendre pour que l'acte soit depose aupres
       de la juridiction ;

Monsieur PARIS a saisi le juge aux Affaires familiales de Paris le 3 octobre 2022 afin
de voir fixer la residence habituelle des enfants a son domicile.

Le 7 octobre 2022, ii a obtenu du juge aux affaires familiales de PARIS une autorisation
d'assigner.

II a ensuite remis a un huissier fran9ais !'assignation en vue de sa delivrance a
Madame BROWN aux Etats-Unis.

La signification a Madame BROWN est intervenue le 1O octobre 2022.

le 7 octobre 2022 Madame BROWN a saisi le Tribunal de Circuit de l'Etat de
!'OREGON (Jackson County Circuit Court) d'une demande de dissolution de leur
partenariat civil (dissolution of Domestic Partnership), de fixation des droits parentaux
et de la fixation de la contribution aux frais des enfants.

En l'espece, ii apparait done que le juge aux affaires familiales de PARIS a ete saisi
en second puisque Monsieur PARIS a remis a l'huissier son assignation avec
l'autorisation d'assigner posterieurement au 7 octobre 2022. (Mais je ne le prouve pas,
a la partie adverse de justifier du contraire)
Or Madame BROWN a saisi le juge du Jackson Count Circuit Court de l'Etat de
l'OREGON le 7 octobre 2022 soit anterieurement ala saisine de la juridiction fran~aise.

C'est done bien le juge americain qui a ete saisi en premier.

Qui plus est, le Jackson Count Circuit Court est bien competent en vertu du I'UCCJEA
(Uniform Child Custody Juridiction and Enforcement Act), en raison du lien significatif
entre la mere et l'Etat de l'OREGON et de !'existence de preuves substantielles dans
cet Etat concernant Jes soins, la protection, la formation et les relations personnelles
des enfants. (Piece n°42)

II a d'ores et deja rendu le 11 octobre 2022 une decision fixant le cadre de vie des
enfants a titre provisoire.

« Le lieu de residence habituel de leurs enfants est chez la demanderesse au 665
Leonard St., a Ashland, OREGON.
Leurs enfants sont actue/lement inscrits et frequentent l'ecole primaire de Bel/view, a
Ashland, OREGON.
Les deux parties exercent leur droit de visite sur leurs enfants sur une base apeu pres
egale »


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Cette decision a ete signifiee  a
                               Monsieur PARIS qui l'applique et voit ses enfants
conformement au cadre fixe par cette decision a savoir la mise en place d'une
residence alternee.

   ►   En consequence, le juge aux affaires familiales de PARIS devra se
       dessaisir au profit des Juridictions de l'Etat de l'OREGON.




                               PAR CES MOTIFS

IN LIM/NE LITIS


II est demands au Juge aux affaires familiales de PARIS de :

   -   SE DECLARER INCOMPETENT pour connaftre du present litige au profit du
       Tribunal competent de l'Etat de !'OREGON a savoir le Tribunal de Circuit de
       l'Etat de !'OREGON;

   -   A titre subsidiaire, si le Juge aux Affaires familiales de PARIS se declarait
       competent, et considerait qu'il existait une situation de litispendance, DIRE
       RECEVABLE ET BIEN FONDEE !'exception de litispendance, et SE
       DESSAISIR au profit du Tribunal de Circuit de l'Etat de !'OREGON au regard
       de l'anteriorite de sa saisine ;

   -   A titre extremement subsidiaire, si le Juge aux affaires familiales de PARIS se
       declarait competent et considerait avoir ete saisi en premier, RENVOYER
       l'affaire afin que les parties puissent se mettre en etat sur le fond du dossier.




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